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                         UN ITED STATES DISTRICT COU RT
                         SOU TH ERN D ISTRICT OF FLORIDA
                     CA SE N O .15-21038-CIV-M OO RE/M CAL1LEY

  CA SA DIM ITRICO RP.

               Plaintiff,



   TECHN OM ARIN E S.A .,etal.

                D efendants.

                            REPO RT AN D R ECO M M ENDA TIO N

         TheCourthasbeforeitPlaintifpsRenewedM otionforPreliminarylnjunction.gDE
   1331.Thismatterwasreferred to me by the Honorable K.M ichaelM oore and is fully
   briefed.(DE 134,1441.Forthereasonssetforthbelow,Irecommendthatthemotionbe

   denied.

    1.   Background

         A.     Proceduralhistory
    Thisaction arisesfrom the lengthy and complex relationship betw een Plaintiffand several

    related TechnoM arine com panies concerning the m anufacture and sale of w atches and

    sunglasses bearing the TechnoM arine m arks.B efore 1 turn to the factual record, 1

    sum m arizetheproceduralhistory ofthism otion.
          Plaintiffbroughtthisaction on M arch 13,2015,alleging D efendantshad violated the

    Lanham A ctthrough trademark dilution and unfair competition and violated the Florida


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   anti-dilution statute'
                        ,had engaged in com m on 1aw tradem ark dilution,com m on law unfair

   competition and civilconspiracy;had violated the Florida D eceptive and Unfair Trade

   PracticesAct(FDUTPA);andwasliableforbreach ofcontract,breachoftheimplied duty
   ofgoodfaithandfairdealingandunjustenrichment,inconnection with themanufacture
   and sale ofeyewear,gDE l1.The Complaintsoughtdamages and a preliminary and
   permanentinjunction.li#J.Plaintiffalsofiledaseparatemotionforpreliminaryinjunction
   askingtheCourttoenjoinDefendantsfrom infringingonPlaintiffstrademarkrightsinthe

   eyewear.gDE 381.
          On N ovem ber 4,2015,and N ovem ber 17,2015,the Court held an evidentiary

   hearingonthemotionforpreliminaryinjunction,hearingtestimonyfrom arepresentative
   ofPlaintiff,Dem etrio Lam pru,a representative ofTechnoM arine,Benaard Crochon,and a

    representativeofInvicta,EyalLalo.(DE 79,1151.On January 25,2016,Plaintifftsled an
    Am ended Com plaint,adding claim s of tradem ark infringem ent,copyright infringem ent

    and patentinfringem ent,and dropping its claim sforbreach of contract,civil conspiracy,

    breachoftheimplitdcovenantofgoodfaith andfairdealing,andunjustenrichment.gDE
    116q.TheAm ended ComplaintalsonamesTechnoM arine S.A .asan involuntaryPlaintiff

    underFederalRule ofCivilProcedure 19.gDE 116,!41.
           W ith the filing ofthe A m ended Com plaint,Iheld a status conference to determ ine

    itsimpacton Plaintifpsrequestforpreliminary injunction.Atthattim ePlaintiffinform ed
    theCourtthatitintended to move forpreliminary injunction on someoral1ofitsnew
    claim s. To avoid duplicative m otions, 1 denied the pending m otion for prelim inary
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  injunctionwithoutprejudiceand directed Plaintiffto filearenewed motion,raising every
  groundunderwhichitsoughtinjunctiverelief.W iththeparties'agreement,theevidentiary
                                                                                   l
  record islimitedto theevidencepresented attheevidentiary hearing.(DE 1241.
        OnFebruary23,2016,Plaintifffiled arenewedmotionforpreliminaryinjunction,
   seekinginjunctivereliefbasedonlyontheLanham Actclaimsforinfringementandunfair
   competition, and the claim under FD UPTA S in connection w ith eyew ear bearing the

   TechnoMarinetrademark.(DE 1331.Therenewedmotionforpreliminaryinjunctionisthe

   subjectofthisReportandRecommendation.
         B.     Factualbackground
         In 2004,D efendantTechnoM arine S.A .,a Sw iss com oration,and Plaintiffentered

   into an exclusive licensing agreem entauthorizing Plaintiffto design,m anufacture,m arket

   and selleyew ear products bearing the TechnoM arine tradem arks in the United States,

    CentralAmerica,theCaribbean and M exico.2 rDE 79,p.521.From 2004,untiltheevents
    giving rise to this action, Plaintiff invested signitscant tim e and capital designing,

    m anufacturing, and prom oting eyewear bearing the TechnoM arine m arks, as well as

    establishing the necessary distribution network for those products.rDE 79,pp.44-50,
    57-62,89-901.Priorto entering into thislicensing agreement,TechnoM arine did notsell
    '1also perm itted thepartiesto supplementtherecord with affidavitsthataddressed new matters
    raisedbythenew claims.(DE 1242.Theychosenotto.
    2Plaintiffalso entered into aDistribution Agreem entw ith TechnoM arineAsia Limited,granting
    Plaintiff the right to distribute watch products bearing the TechnoM arine M arks, and a
    D istribution A greem ent w ith TechnoM arine U SA , Inc., authorizing TechnoM arine U SA to
    distribute Plaintiffs eyewear with the TechnoM arine M arks.(DE 1-2,l-4).Neitherofthese
    agreementsisrelevanttotheissuesraisedinthemotionforpreliminaryinjunction.
                                                 3
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  eyewearbearing itstrademarks.EDE 79,pp,44-5,239-40).
        By 2014,Plaintiffheard rum orsthatTechnoM arine S.A .was experiencing financial

  difficulties.ln September 2014, Plaintifps representatives m et w ith representatives of

  TechnoM arine S.A .w ho told PlaintiffthatTechnoM arine S.A .was seeking new investors

   to addressitstinancialproblems.(DE 79,pp.90-41.ln November2014,TechnoM arine
   S.A.informedPlaintiffthatithadfound anew investor.Lld.at96-81.lnDecember2014,
   TechnoM arineS.A.began proceedingsin the Swissbankruptcy court.(DE 79,p.2071.lt
   did notprovide form alnotice to Plaintiffthatithad com m enced bankruptcy proceedings.3

   (DE 79,pp.99-1011.ThebankruptcycourtappointedaTrustee.rDE 115,pp.11-21.
         M onths later,in early February 2015,TechnoM arine S.A .inform ed Plaintiffthatit

   w as in discussions with D efendant Invicta W atch Company of A m erica as a possible

   investor,but did notprovide any details about the effectthis m ight have on Plaintiff s

   agreements with TechnoMarine S.A. (DE 79,pp. 104-51.On M arch 13,2016,after
    m eeting w ith a representative oflnvicta,and becom ing concerned aboutthe effect,of a

    sale ofTechnoM arine to lnvicta,on itsinterestin the TechnoM arineM arks,Plaintifffiled

    thisaction,ïld.atpp.112-6,120j.
          TechnoM arine S.A .and lnvicta entered into a Term Sheet which provided that

    3 In theirresponse to thepreliminary injunction motion,Defendants state thatkiplaintiffs were
    inform ed ofthebankruptcy atameeting held between lnvicta,TechnoM arine USA and Plaintiffs
    atwhich itwasconfirmed thatInvictaand TM Brandswerepurchasing TechnoM arine'sassetsout
    ofbankruptcy.''gDE 144,p,4,!4).Insuppol'tofthisfactualassertion,Defendantscitetwopages
    ofthecrossexamination ofPlaintifpsrepresentative.UJ.).Ratherthan supporting Defendant's
    factual assertion,this testimony contradicts it.ln those two pages,Plaintiffs representative
    testitiesthreetimesthathewasnottoldaboutthebankruptcyproceedinginthatmeeting.(DE 79,
    pp.163-41.TheCourtisdisturbedbyDefendant'smisrepresentationofthistestimony.
                                                 4
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  Invictawould purchasetheTechnoM arineM arks.(.
                                               J#.atpp.215-161.OnM arch 31,2016,
  InvictaandTM Brands,awholly ownedsubsidiary oflnvicta,(inthislawsuit,theiilnvicta
  Defendants'')entered into an AssetPurchaseAgreement(APA)with TechnoM arine S.
                                                                              A.
   and TechnoM arineUSA.(DE 79sp.217,Def.Ex.C).TheAPA provided thatInvictaand
   TM Brandsw ould purchast TechnoM arine S.A .'Srightsto the TechnoM arine M arks,but

   notTechnoM arine S.A .'Sliabilities,which included theLicense A greem entw ith Plaintiff.


   (DE 115,pp.11-51.
         N either TechnoM arine S.A .nor lnvicta provided Plaintiff form alnotice thatthey

   were goingto seek approvalofthesale in the Swissbankruptcy proceeding.(DE 79,pp.
    163-52.The Swissbankruptcy trustee,who signed the APA,was involved in the entire
   process,from the term sheetand thc execution ofthe A PA through the snalization ofthe

    sale.(DE 115,pp.11-21.TheAPA wasultimately approved in theSwissbankruptcy.gDE

    l15,p.121.
         A fter approval of the APA , the lnvicta D efendants notified Plaintiff s eyewear

    m anufacturerthatitnow owned theTechnoM arine M arks and directed thatm anufacturer

    toceasedoingbusinesswithPlaintiff.(DE 79,pp.122-5,andEx.81.Themanufacturerin
    turn informed Plaintiffthatitwould cease production ofthe eyewear forPlaintift and
    dem anded paym entofPlaintifps outstanding balance and com pensation for lostorders.

    gDE 79,pp.126-91.Thiscaused Plaintiffto defaulton itsobligationto provideeyewearto
    its retailers and custom ers.gDE 79,pp. 126-81.lnvicta then placed orders with the
    m anufacturer to produce eyew ear products bearing the TechnoM arine M arks,w hich are
                                                5
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   virtually identical to the eyewear products Plaintiff had designed and sold under the

   LicenseAgreement.(DE 79,pp.68-70,145-8j.Invictacurrently markets,advertisesand

   sellstheseeyewearproducts.fld.?
         W ellafterthe signing oftheA PA ,by lettersdated M ay 15,2015,and June 25,2015,

   the TechnoM arine entiticspurported to term inate the License A greem ent.The firstletter,

   sent by TechnoM arine A sia, Ltd. and TechnoM arine, S.A ., stated that the License

   Agreementbetween TechnoM arine S.A.and Plaintiff (as wellas the other agreements
   between TechnoM arine entitiesand Plaintifg wasterminated becausethe TechnoMarine
   entitieshadsoldthetrademarksin bankruptcy.EDE 79,p.184,Def.Ex.A1.Theletteralso
   stated Sû-l-here m ay existother grounds for term ination under the term s of the respective

   agreem ents.The factthatTechnoM arine hasnotlisted those groundsdoesnotconstitute a

   waiver.''lf#).TheJune25,2015Term inationNotice,sentbyTechnoM arineS.A.,purports
   toterminatetheLicenseAgreementforcause.(DE 79,p.131,Pl.Ex.101.
   ll.   A nalysis

         A preliminary injunction isan extraordinary and drasticremedy forwhich Plaintiff
   bearstheburdenofpersuasion.TracfoneWireless,Inc.v.ClearChoiceConnections,lnc.,
   102 F.supp.3d 1321,1325 (S.D.Fla.2015).In orderto carry itsburden,Plaintiffmust
   clearly establish that: ii(1)ithas a substantiallikelihood ofsuccess on the merits;(2)
   irreparableinjurywillbesufferedunlesstheinjunctionissues;(3)thethreatenedinjuryto
   themovantoutweighswhateverdamagetheproposed injunction may causetheopposing
   party;and (4)ifissues,the injunction would notbe adverse to the public interest.''
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  American CivilLibertiesUnionofFlorida,lnc.v.M iami-DadeCtpzfn/.pSchoolBoard,557
  F.3d 1177,1198(11th Cir.2009).Failuretoshow anyofthesefactorsisfataltotherequest

   forpreliminaryinjunction.f#.
         To establish a substantial likelihood of success on the m erits, a plaintiff m ust

   ûsdemonstrate a likelihood ofsuccessattrialas to both itsprima facie case and the
   affirmativedefensesasserted by the defendant.''Tracfone,102 F.supp.3d at1325.Here,
   Plaintiff has failed to carry its burden of persuasion to clearly establish a substantial

   likelihoodofsuccessonthemeritsoneitheritsprimafaciecaseorDefendants'anticipated
   defenses.4 Because Ifind thatPlaintiffhasnotestablished the firstelem entrequired for a

   preliminaryinjunction,ldonotaddresstheremainingthreeelements.
         A.      Plaintifpsprimafaciecase
          Plaintiffasksforinjunctivereliefon itsLanham Actclaimsforinfringementand
   unfaircompetition,and itsFDU PTA claim ,in connection w ith the sale ofeyew earbearing

   theTechnoM arineM arks.gDE 1331.Thesameanalysisappliestoconsideration ofeachof
   these claim s.Suntree Technologies,Inc.v.Ecosense Intern.,Inc.,693 F.3d 1338, 1345

   (11th Cir.2012).
          To prevail,Plaintiffm ustshow thatithastradem ark rights in the m arksatissue,and

   thatthe otherparty has used a m ark thatis confusingly sim ilar.1d.at 1346.The parties


    4 D efendants have notansw ered the A m ended C om plaint,as they filed a m otion to dism iss;that
    m otion ispending.Thus,Defendantshave notyetpled any affirm ative defenses.However,they
    raisecertain argumentsinboth theirmotionto dismissand in responsetothepending preliminary
    injunctionmotion.Thosedefenseswould beinthenatureofan affirmativedefenseifDefendant
    answerstheAmended Complaint.
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             that Defendants are m anufacturing and m arketing eyew ear that is virtually
   concede
   identicalto Plaintiffseyewear.(DE 79,pp.68-91Thus,Plaintiffhasshown a substantial
   likelihood ofsuccessin proving the second elem entofitsprim a facie case.The issue in

   dispute is whether Plaintiff has clearly show n a substantial likelihood of success in

   establishing thatithasrights in the TechnoM arineM arks.

         PlaintiffassertsthattheexclusiveLicense Agreem enttransferred to itthe rightto use

   the TechnoM arine M arks on eyew ear products,and divested TechnoM arine S.A .ofthat

    right.gDE 133,p.10-11.Thus,Plaintiffcontends,TechnoM arine S.A.could nothave
    transferred the rights Plaintiff received under the License A greem ent to the Invicta

    D efendants through the APA . Stated another w ay,Plaintiff argues that the bundle of

    tradem ark rights purchased from TechnoM arine S.A .by the Invicta D efendants in the

    Sw issbanltruptcy necessarily did notincludetherighttousetheTechnoM arine S.A .m arks

    on eyew ear, because TechnoM arine S.A .no longer ow ned those rights. A s a result,

    Plaintiff argues that it continues to hold the rights to use the TechnoM arine M arks on

    eyew ear, and therefore, satisfies the first requirem ent for bringing a claim under the

    Lanham Act.
          Courts have found that an exclusive licensing agreem ent m ay transfer tradem ark

    rightsto a licensee,which m ay barthe tradem ark ow nerfrom transferring thoserightsto a

    third party.See,e.g,Gray v.Novell,Inc.,412 Fed.Appx.199 (11th Cir.2011);Aceto
    Corporation v.TherapeuticsM D,lnc.,953 F.supp.zd 1269(S.D.Fla.2013);Drcw Estate
    Holding Co.,LLC v.FantasiaDist,lnc.,875F.supp.zd l360(S.D.Fla.2012).
                                                                       ,BasicFun,
                                               8
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  lnc.v.X-concepts, LLC, l57 F.supp.zd 449 (E.D.Pa.2001).W hether a particular
  licensing agreem ent grants a licensee enforceable rights in a tradem ark depends on the

  terms ofthe agreement.See Drew,875 F.supp.zd at 1366 (û1A licensee's standing to
  bringing a tradem ark infringem ent claim tlargely depends on the rights granted to the

   licenseein the licensing agreement,,,).5
        The License A greem ent at issue here grants Plaintiff an exclusive license to

   m anufactureand Sicom m ercialize''high quality eyew earbearing theTechnoM arine M arks.

   gDE 79,p.51,P1.Ex.1,jj 1and2).ThelicenseislimitedtotheUnited States,Venezuela,
   Colom bia, Ecuador, Bolivia, M exico, Panam a, N icaragua, Costa R ica, Guatem ala,

   Salvador,Bolivia,Belize,anda1lcountriesin theCaribbean.Vd.atj3.1q.
         M oreover, Section 15 of the License A greem ent provides that the Licensee

   (Plaintifg Sçacknowledges Licensor's right of ownership over the Trademark and
   undertakesto theusetheTradem ark exclusively inhiscapacityasLicensee ....''Vd.atj
   15.11.The Agreement further provides that,although the Licensee mustreportto the
   Licensor any infringem entor unfair competition:tslxicensor shall,at its ow n discretion,

   decideontheopportunitytoinitiateanylegalaction,judicialorextra-judicial,inanycase
   ofinfringementoftheTrademark orany otherrightregardingtheLicensed Articled.''Lld.

   atj 15.21.
         This is notthe tim e forthe Courtto m ake a finaldeterm ination ofthe scope ofthe


   5Thesecasesare factually distinguishablefrom the action broujhtby Plaintiffs lawsuit.ln
   particular,the licensees in the cited cases soughtto establish thelrtradem ark rights under the
   licensing agreementagainstthirdparties,nottheputative trademark owner.
                                                  9
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   rights to the disputed m arks that Plaintiff received under the License A greem ent.This

   record,how ever,doesnotdem onstrate thatPlaintiffissubstantially likely to establish that

   it has tradem ark rights in the disputed m arks. lm portantly, the A greem ent's

   acknow ledgm ent thatthe Licensor,TechnoM arine S.A ., owns the Tradem ark,and the

   reservation to TechnoM arine,S.A .,ofthe rightto enforcethe TechnoM arine m arks,casts

   doubton Plaintiff sclaim thatitcurrently hasrightsin the TechnoM arine m arks.

         In sum ,Plaintiffhas failed to carry its burden to show a substantiallikelihood of

    successinprovingitsprimafaciecaseoftrademark infringement,unfaircompetition and

    violations ofFD UPTA .

         B.     Defenses
         Because Plaintiffcannotclearly show a substantiallikelihood ofproving itsprima

   facie case,ithasnotestablished itsrightto a preliminary injunction.As an additional
    matter,Defendants raised two defensesin response to the preliminary injunction motion
    w hich, if successful, w ould defeat Plaintiffs claim of enforceable rights in the

    TechnoM arine m arksundertheLicenseA greem ent.First,DefendantsarguethatthisCourt

    should recognize the extinguishm entofPlaintiff srightsunderthe License A greem entin

    the Swissbankruptcy.kDE 144,pp.7-91.Second,Defendantsarguethatthe term ination
    letter dated June 25,2015,term inated the License A greem ent for cause,and Plaintiff

    thereforehasno trademark rightstoenforce.gDE 144,pp.13-141.Plaintiffhasnotshown
    thatitissubstantially likely to prevailon eitheron these defenses.
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                       Effectofthe Sw issbankruptcy

         In response to the tsrstdefense,PlaintiffarguesthatD efendantshave failed to prove

    thatPlaintiffwasgiven adequate notice of,and an opportunity to participate in,the Sw iss

    bankruptcyproceeding,andthustheproceedingsshouldnotbegiven effecthere.(DE 133,
    pp.6-81.Notably,there isno disputethatPlaintiffhad actualknowledge ofthe Swiss
    bankruptcy proceeding and did notattem ptto intervene in the bankruptcy.

          N eitherparty has provided the Courtwith any evidence ofthe requirem entsofthe

    Sw iss bankruptcy process, including any notice requirem ents. This failure is fatal to

    Plaintifpsmotion.Atthe preliminary injunction stage,itis Plaintiffs burden,asthe
    m ovant,to provide the Courtw ith sufficientevidence that: (1)Swissbankruptcy law did

    not allow Defendants to terminate the License Agreem ent,(2) D efendants failed to
    properly follow Swisslaw or,(3)Swisslaw did notprovidePlaintiffsan opportunity to
    interveneto protectitsinterestin the TechnoM arineM arks.

          Plaintiff has not provided any evidence that the term ination of the License

     Agreem entw asim proper underSw iss law orthatD efendants did notcom ply with Swiss

     law .As for the argum entthatPlaintiffdid notreceive sufficientnotice ofthe bankruptcy

     proceeding to w arrantrecognition ofthe Swissproceeding in thisCourt,the evidence thus

     far presents significant issues of fact regarding the nature of the notice received by

     Plaintiff,as w ell as Plaintiff s efforts to determ ine the status of the Sw iss bankruptcy

     proceeding and itsobligation and ability to intervene in the Sw issproceeding.

            1thusfindthatPlaintiffhasfailed to carry itsburden to show asubstantiallikelihood
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   of success in defeating D efendants' assertion that Plaintifps rights under the License

   A greem entw ereproperly term inated in the Sw issbankruptcy.

                ii.    Effectoftheterm ination letter
          Sim ilarly,Plaintiffhasnotshown a substantiallikelihood thatitw ould prevailon

   Defendants'affirm ative defense thatthe License Agreem entw asterm inated by the letter

   dated June 25,2015,w hich explicitly divests Plaintiffofany rights in the TechnoM arine

    m arks.
          Itis undisputed thatPlaintiffdid notstrictly com ply with the term softhe License

    Agreement. gDE 79,pp. 170-5, 226-81.Plaintiff argues that the stated grounds for
    term ination are pretextual,as its actions w ere ratified by TechnoM arine S.A .and,thus,

    Plaintiffwasnotin defaultoftheLicenseAgreement.(DE 133,pp.11-21.TheCourtfinds
    a signiscant factualdispute concerning the effectiveness of the term ination later,w hich

    precludes a finding that Plaintiff is substantially likely to prevail on this affirm ative

    defense.

    111. Recom m endation
          In sum m ary,because Plaintiffhasfailed to clearly establish a likelihood ofsuccess

    on the m erits ofits claim s forinfringem entand unfaircom petition underthe Lanham A ct

    and violations ofFDUPTA,lrecommend thatthe motion forpreliminary injunction be

    denied.

    IV. Objections
        Thepartiesmayfilewrittenobjectionstothisreportandrecommendationwiththe
                                                l2
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    Honorable K .M ichaelM oore no laterthan fourteen days from the date ofthisreportand

   recommendation.Failureto timely file objectionsshallbarthepartiesfrom attacking on
    appealany factualfindings contained herein.RTC v.Hallm ark Builders,Inc.,996 F.2d

    1144,1149(11th Cir.1993);focbnfev.Dugger,847F.2d745,749-50 (11thCir.1988).
         RESPECTFULLY RECO M M EN DED in cham bersatM iam i,Florida this 26th day

   ofM ay,2016.

                                                       *


                                            RlS M CA LILEY
                                         UN ITED STA TES M A GISTR ATE JUD GE

   Copiesto:
   The Honorable K .M ichaelM oore
   CounselofRecord
